   45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)
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Criminal Case Cover Sheet                                                               U.S. District Court - District of Massachusetts

Place ofOffense:                            Category No.                               Investigating Agency           VA-OIG
City       Bedford                                      Related Case Information:

County        NCddlesex                                 Superseding Ind./ Inf.                          CaseNo.
                                                        SameDefendant                            New Defendant
                                                        Magistrate Judge Case Number            17-mi-7219-JCB
                                                        Search Warrant Case Number
                                                        R 20/R 40 from District of

Defendant Information:

Defendant Name Demone Coleman                                                       Juvenile;              •     Yes 13 No
                        Is this person an attomey and/or amember ofany state/federal bar:                  •     Yes [3 No
Alias Name
Address                 fCitv & State'! Boston, MA

Birth date (Yr only): 1979 SSN (iast4#): 5674               Sex hi           Race: B                   Nationality:

Defense Counselif known:                    Ian Gold                                   Address Law Office ofIan Gold

Bar Number                                                                                      2 Mill &Main Place, Suite 260 EF
                                                                                                 Maynard, Ma 01754
U.S. Attorney Information:

AUSA         Nicholas Soivilien                                             BarNumber if applicable        615151
Interpreter:            • Yes          m No                     List language and/or dialect:
Victims:                | |Yes [3^® if                are there multiple crime victims under 18 USC§3771(d)(2)        • Yes • No
Matter to be SEALED:                  •     Yes        0     No
          I IWarrant Requested                             0 Regular Process                     0 In Custody
Location Status:

Arrest Date                   11/01/2017

[^Already in Federal Custody as of                           01/19/2018                  in      Wyatt Detention Center
0 Already in State Custody at                                             | [Serving Sentence             | Kwaiting Trial
•o nPretrial Release: Ordered by:                                                        on
Charging Document:                     I IComplaint                  0 Information                     0 Indictment
Total # ofCounts:                      | |Petty                      I IMisdemeanor                    [3 Felony ——

                                                 Continue on Page 2 for Entry of U.S.C. Citations

          I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:      04/19/2018             q                 Signature ofAUSA
JS 45 (5/97) (RevisedU.S.D.C.MA 12/7/05)Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant              Demone Coleman

                                                                 U.S.C. Citations

                Index Kev/Code                               Descrintion of Offense Charged     Count Numbers
                                                  Distribution of a Controlled Substance
Setl      21 U.S.C. § 841(a)(1)                                                               1-4

                                                  Drug Forfeiture
Set 2     21 U.S.C. § 853


Set 3


Set 4



Set 5


Set 6


Set?



Set 8


Set 9


Set 10



Set 11


Set 12



Set 13



Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM- Criminal Case Cover Sheet.pdf 3/4/2013
